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                                                                       March 26, 2019

VIA ECF
Honorable Robert D. Drain
United States Bankruptcy Court
Southern District of New York
300 Quarropas Street
White Plains, NY 10601

            Re:         Michael A. Damergis, Chapter 11, Case No. 19-22543 (RDD)
                        Adjournment of 341(a) Meeting of the Creditors

Dear Judge Drain:

      The law firm of Cushner & Associates, P.C. represents the Debtor, Michael A.
Damergis in the above referenced Chapter 11 proceeding.

      Please accept the following as confirmation that the 341(a) Meeting scheduled for
March 27, 2019 at 1:00 p.m. has been adjourned to April 3, 2019 at 1:00 p.m.

            Thank you for your timely attention to this matter.



                                                         Respectfully yours,

                                                         /s/ Todd S. Cushner
                                                         Todd S. Cushner, Esq.




cc:         Serene K. Nakano
            United States Trustee
